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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
                                                §
                                                §
 v.                                             §         CRIM ACTION 6:16-CR-29(1)
                                                §
                                                §
 RAMON ADRIAN NOLEN                             §
                                                §
                                                §

                 ORDER ADOPTING THE REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE


       The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

adjudge Defendant as guilty of Count 2 of the Indictment filed in this cause.

       In open court at the plea hearing on August 24, 2016, the parties waived their right to

object to the magistrate judge’s findings. The Court is of the opinion that the Report and

Recommendation should be accepted. It is accordingly

       ORDERED that the Report and Recommendation of the United States Magistrate Judge

is ADOPTED. It is further




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.           ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

    the plea agreement is approved by the Court, conditioned upon a review of the presentence

    report. It is finally

            ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 2 of the Indictment in the above-numbered cause and enters a JUDGMENT

    OF GUILTY against the Defendant as to Count 2 of the Indictment.

    SIGNED this 26th day of August, 2016.




                                                  ____________________________________
                                                  MICHAEL H. SCHNEIDER
                                                  UNITED STATES DISTRICT JUDGE




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